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                      UNITED STATES BANKRUPTCY COURT
                                   FOR THE
                         DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
In re:                               )   Chapter 7
                                     )   Case No. 19-11275
Joanne N. Lunn,                      )
                                     )
            Debtor                  )
____________________________________)
                                    )
Paula Fruman,                       )
                                    )
            Plaintiff               )    Adv. P. No. 19-01092
                                    )
v.                                  )
                                    )
Joanne N. Lunn,                     )
                                    )
            Debtor                  )
____________________________________)


            JOINT MOTION TO EXTEND/AMEND SCHEDULING ORDER

        NOW COME, the Parties in the above referenced matter who respectfully request that
this Honorable Court extend and amend the Court’s Scheduling Order dated September 10, 2019
as follows: (1) extend the deadline to conduct an initial conference in accordance with Fed. R.
Civ. P. 26(f) from October 10, 2019 to October 31, 2019; and (2) extend the deadline to file a
Joint Discovery Report from October 25, 2019 to November 15, 2019.

       As reasons therefore, the Parties state as follows:

       1. Debtor’s counsel will be out on vacation from September 28, 2019 through October
          14, 2019 and without access to her office or files.

       2. The Parties reserve the right to seek additional extensions of time or amendments to
          their Discovery Plan as may become necessary. The Parties reserve all of their rights
          under F.R. Civ. P. 7037 and M.L.B.R. 7037-1. Except as expressly set forth herein,
          no extensions of time to answer or respond are granted hereunder; and

       3. The parties submit that this Motion is “a motion to which all affected parties in
          interest have consented” Pursuant to M.L.B.R. 9013-1(e)(2)(B). Accordingly, the
          Court may consider and allow this Motion prior to the expiration of any applicable
          objection period and without a hearing.
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         WHEREFORE, Plaintiff asks that this Honorable Court extend or amend the Court’s
Scheduling Order as follows: (1) extend the deadline to conduct an initial conference in
accordance with Fed. R. Civ. P. 26(f) 2019 to October 31, 2019; and (2) extend the deadline to
file a Joint Discovery Report to November 15, 2019.

Dated: September 27, 2019

                                                    Respectfully submitted,
                                                    Joanne N. Lunn,
                                                    By her Attorney,

                                                    /s/ Honoria DaSilva-Kilgore
                                                    Honoria DaSilva-Kilgore, bbo# 564202
                                                    The Law Offices of
                                                    Honoria DaSilva-Kilgore, P.C.
                                                    2 Richard Street, P.O. Box 277
                                                    Raynham, MA 02767
                                                    (508) 822-3200
                                                    hdklaw@hdklawoffices.com

Dated: September 27, 2019

Paula Fruman,
By her Attorney,


/s/ Peter J. Duffy
Peter J. Duffy, Esq.
Pollack Soloman Duffy
133 Federal Street
Boston, MA 02110
pduffy@psdfirm.com
